

Matter of Berry (2022 NY Slip Op 02049)





Matter of Berry


2022 NY Slip Op 02049


Decided on March 24, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 24, 2022

PM-61-22
[*1]In the Matter of Austin Maxwell Berry, an Attorney. (Attorney Registration No. 4487278.)

Calendar Date:March 21, 2022

Before:Lynch, J.P., Clark, Aarons, Colangelo and Fisher, JJ.

Austin Maxwell Berry, Midland, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Austin Maxwell Berry was admitted to practice by this Court in 2007 and lists a business address in Washington, DC with the Office of Court Administration. Berry now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Berry's application.
Upon reading Berry's affidavit sworn to February 22, 2022 and filed February 28, 2022, and upon reading the March 18, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Berry is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Aarons, Colangelo and Fisher, JJ., concur.
ORDERED that Austin Maxwell Berry's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Austin Maxwell Berry's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Austin Maxwell Berry is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Berry is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Austin Maxwell Berry shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








